               IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           1:99-CV-00764

JEFFREY CLAYTON KANDIES,             )
                                     )
    Petitioner,                      )
                                     )
                 v.                  )
                                     )
GERALD BRANKER, Warden,              )
                                     )
    Respondent.                      )
               _______________________________________

                 MOTION TO STAY AND FOR ABEYANCE
                     OF FEDERAL PROCEEDINGS

      NOW COMES, Jeffrey Clayton Kandies, by and through his undersigned

counsel, and moves this Court to stay and place in abeyance this federal habeas

corpus proceeding pending his further exhaustion of state remedies with regard to

evidence developed since the conclusion of state court proceedings that has not yet

been considered by the state courts. In support of this motion, Mr. Kandies shows

the following:

      1.    Mr. Kandies is a death-sentenced North Carolina prisoner who is

seeking habeas corpus relief from his conviction and sentence.

      2.    Mr. Kandies’ conviction became final when the Supreme Court of the

United States denied his petition for writ of certiorari on 7 October 1996. Kandies

v. North Carolina, 519 U.S. 894 (1996).




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      3.    One of the federal constitutional claims, which he raised at trial and

pursued on direct appeal in the state supreme court, involved the discriminatory

use of peremptory challenges by the prosecution in violation of Batson v.

Kentucky, 476 U.S. 79 (1986). See State v. Kandies, 342 N.C. 419, 467 S.E.2d 67,

cert. denied, 519 U.S. 894 (1996).

      4.    Mr. Kandies sought state court collateral review of his conviction by

filing a motion for appropriate relief that was denied by the state trial court on 8

May 1998 and an amended MAR was denied on 29 April 1999. The Supreme

Court of North Carolina denied review on 19 August 1999.

      5.    On 7 October 1999, Mr. Kandies re-filed a petition for writ of habeas

corpus in this Court. [DE 8] The writ was denied. [DE 25] Although the ruling was

affirmed by the United States Court of Appeals for the Fourth Circuit, the United

States Supreme Court vacated and remanded for reconsideration. Kandies v. Polk,

545 U.S. 1137(2005), vacating and remanding, Kandies v. Polk, 385 F.3d 457 (4th

Cir. 2004). The Fourth Circuit then remanded to this Court. [DE 43]




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      6.    This Court granted Mr. Kandies’ motion for limited discovery

regarding the criminal record checks done on the jury venire and the prosecutor’s

use of peremptory challenges on 2 October 2006. [DE 63] Pursuant to this Court’s

Order, Mr. Kandies engaged in this discovery. On 20 December 2007, this Court

ordered additional discovery on these issues. [DE 79] Mr. Kandies engaged in this

discovery. Respondent moved to expand the record. [DE 83, 95] These motions

were granted. [DE 101]

      7.    Mr. Kandies filed a brief on remand from the Supreme Court of the

United States on 8 September 2010. [DE 117] This brief included numerous

affidavits and materials containing information not available to Mr. Kandies at the

time of his trial or direct appeal, including information gathered pursuant to the

Racial Justice Act, which was not passed until 2009.

      8.    The magistrate judge again recommended that the petition be denied.

[DE 124] Mr. Kandies filed objections to the recommended ruling. [DE 129]

Respondent replied to the objections and argued, in part, this Court could not

consider any of the facts discovered and developed after the state court

proceedings in light of Cullen v. Pinholster, 131 S. Ct. 1388 (2011). [DE 130]

      9.    This Court conducted a status conference on 15 January 2013. It

ordered the parties to file supplemental briefs regarding the applicability of

Pinholster by 5 March 2013.
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      10.   After conducting additional research and analysis, Mr. Kandies

believes the most appropriate course of action is for this Court to stay these

proceedings and hold the matter in abeyance while he pursues a second motion for

appropriate relief in state court to allow the state courts to consider the evidence

gathered through the discovery granted by this Court, through the investigation and

litigation that has occurred under the Racial Justice Act, and other information now

available to him that he could not have obtained during the state court proceedings

in his case. See Gonzalez v. Wong, 667 F.3d 965, 977-80 (2011).

      11.   In this case, abeyance is proper under Rhines v. Weber, 544 U.S. 269,

278 (2005) (where good cause exists for failure to exhaust state remedies of

potentially meritorious claims, federal court should stay rather than dismiss

petition); see, e.g., Gonzalez v. Wong, 667 F.3d 965, 977-80 (2011) (remand

directing district court to stay habeas proceeding pending state court consideration

of new evidence); Lovasz v. Vaughn, 134 F.3d 146, 148 (3d Cir. 1998) (federal

courts should not “discourage petitioners from exhausting all their claims in state

court”); see also Elmore v. Ozmint, 661 F.3d 783, 845-49 (4th Cir. 2011) (circuit

court grants stay and holds proceedings in abeyance to allow petitioner to exhaust

his claim under Atkins v. Virginia, 536 U.S. 304 (2002) in state court). Rhines

confirmed the proper approach for a district court to take when it is presented with

a mixed petition: it should hold the federal proceedings in abeyance while the
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petitioner exhausts available state court remedies. Rhines held it would likely be

“an abuse of discretion for a district court to deny a stay and to dismiss a mixed

petition if (1) the petitioner had good cause for his failure to exhaust, (2) his

exhausted claims are potentially meritorious, and (3) there is no indication that the

petition engaged in intentionally dilatory litigation tactics.” Rhines, 544 U.S. at

1535.

        12.   First, Mr. Kandies has good cause for not having availed himself of

state court remedies because the state has consistently resisted his efforts to gather

this evidence. For example, with regard to the prior criminal records of prospective

jurors, and without repeating the arguments and evidence previously made to this

Court, Mr. Kandies moved for discovery of this information before his capital trial.

The motion was denied. He renewed the motion three times during the jury

selection process. The renewed motions were denied. He raised the issue in his

direct appeal. It was again rebuffed because the disclosure was not required under

the state discovery statute in effect at the time of his trial. State v. Kandies, 342

N.C. at 437-48, 467 S.E.2d at 76-77. He was then afforded neither discovery nor

an evidentiary hearing in his state post-conviction proceedings. As was shown in

his brief on remand, filed on 8 September 2010, [DE 117], the evidence concerning

the prior criminal records of prospective jurors supports his claim.


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      13.    Secondly, the claim he has attempted to present in state court and in

this court is, at a minimum, “potentially meritorious” as required by Rhines. The

prosecutor used a disproportionate number of his peremptory strikes to remove

virtually all of the eligible African American prospective jurors (nine of 12 or

75%) from the venire. Mr. Kandies asserted in the trial court that the prosecutor

had a history of excluding African American from his juries. Mr. Kandies was

denied information about the criminal records of prospective African American

jurors, despite the prosecutor asserting the criminal histories of some of these

people as the purportedly race-neutral reason for his peremptory challenges.

Through the discovery granted by this Court, Mr. Kandies has learned these

explanations were without any factual basis. If the prosecutor’s articulated reasons

for his strikes were false, then the challenges likely were unconstitutional, in which

case the rejection of the Batson claim by the state court would be patently an

unreasonable application of federal law.

      14.    Third, Mr. Kandies has timely filed all pleadings and conducted all

discovery within the time frames established by statute and court rules. His Batson

claim has been in no way waived or defaulted. His claim has been raised and

resolved, albeit arguably improperly, in both the state and federal courts. Indeed, it

was the basis of the remand from the Supreme Court to the Fourth Circuit and then

from the Fourth Circuit to this Court. He has not engaged in any dilatory tactics.
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      15.    Fourth, staying the federal proceedings in this matter will conserve

judicial resources, as the state court proceedings may obviate the need for any

further proceedings in federal court. Mr. Kandies is entitled to file a second motion

for appropriate relief if it is “[b]ased on a factual predicate that could not have been

discovered through the exercise of reasonable diligence in time to present the claim

on a previous State or federal postconviction review.” N.C. Gen. Stat. §15A-

1419(c)(3). Mr. Kandies could not have developed this factual predicate in state

court. First, he tried to get the information about the criminal records of

prospective jurors. It was refused. Second, he was not afforded discovery or an

evidentiary hearing in his state post-conviction proceeding. Third, the information

he gathered through the discovery granted by this Court was unavailable to him in

state court. Fourth, the Racial Justice Act, which spawned a comprehensive study

of the use of peremptory challenges by North Carolina prosecutors, was not even

passed until Mr. Kandies had been denied a writ of habeas corpus by this Court

and the matter had been remanded by the Supreme Court for reconsideration.

      16.    Even if Pinholster precludes this Court from considering this new

information, which Mr. Kandies does not concede, he should be provided an

opportunity to present the evidence to the state court since there is a procedural

mechanism to do so. It would be the height of arbitrariness to apply Pinholster to

bar this consideration when the information that has been gathered now indicates
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that the prosecutor in this case both (1) misrepresented the factual basis for his

purported race-neutral reason for striking otherwise eligible African American

prospective jurors and (2) actively violated the dictates of Batson and its progeny.

See Kandies v. Polk, 385 F.3d 476, 478 (Gregory, J.) (expressing “serious doubts

regarding the ‘race neutral’ reasons proffered by the State” and that these reasons

“raise[d] suspicion”).    Pursuant to this Court’s directive to avoid needless

repetition of matters previously presented, Mr. Kandies directs attention to his

objections to the memorandum and recommendation [DE 129] in which he outlines

in detail the pertinent evidence and explains its relevance to the Batson issue.

      17.    The analysis in Gonzalez v. Wong is instructive and compelling. In

Gonzalez, the death-sentenced defendant learned only after his state proceedings

had concluded in 1990, and while he was pursuing habeas corpus relief in federal

court, that helpful psychological reports existed. In fact, these reports were in the

hands of the state but were not disclosed to him, potentially violating Brady v.

Maryland, 373 U.S. 83 (1963), and its progeny. The state claimed these materials

could not be considered by the federal court under Pinholster. The Ninth Circuit

agreed. 667 F.3d at 972. However, “[b]ecause it appears to us that those materials

strengthen Gonzales’s Brady claim to the point that his argument would be

potentially meritorious–that is, that a reasonable state court might be persuaded to

grant relief on that claim–it is not appropriate for us to ignore those materials.” Id.
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Therefore, the circuit court remanded the matter “to the district court with

instructions to stay the proceeding in order to give Gonzales an opportunity to

return to state court and present his claim with the benefit of the materials that

were not available and not part of the record at the time of the [state court]

decision.” Id. This process comported with the intent of the habeas corpus statute

as noted in Pinholster by channeling claims through the state courts in the first

instance. Id. So it is here.

      18.    Like the petitioner in Gonzalez, Mr. Kandies raised his Batson

objections at trial and on direct appeal. He timely sought discovery of the criminal

record checks of prospective jurors that were in the hands of the prosecutor and

formed the alleged basis for his peremptory strikes against some otherwise

qualified African American prospective jurors. He made a showing of the

prosecutor’s historical discriminatory practices in jury selection. He did this to no

avail. After proceeding in federal court seeking a writ of habeas corpus, he finally

obtained discovery tools. Using these tools, as well as new information generated

and gathered under the Racial Justice Act, he learned, only after his state

proceedings had concluded in 1996, that helpful and compelling information

existed about the discriminatory practices of the prosecutor in Mr. Kandies’ own

case, as well as in other capital cases tried by the same prosecutor. Likewise, as in

Gonzalez, respondent is claiming this Court cannot consider these materials under
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Pinholster. But, as this Court observed during the recent status conference in this

case, Pinholster does not eviscerate discovery in federal habeas corpus.              Mr.

Kandies has been afforded and has engaged in discovery. Through it, he has

developed helpful information pertinent to the Batson claim. Since these materials,

as well as the new evidence developed under the Racial Justice Act, strengthen Mr.

Kandies’ Batson claim such that a reasonable state court might be persuaded to

grant him relief, this Court should not “ignore those materials.”      Gonzalez, 667

F.3d at 972. As in Gonzalez, this Court should stay the proceeding in order to give

Mr. Kandies an opportunity to return to state court, which he can do under N.C.

Gen. Stat. § 15A-1411 et seq., and present his claim with the benefit of the

materials that were not available and not part of the record at the time of the state

court proceedings in his case.

      19.    Mr. Kandies requests that a stay be granted, allowing him to file a

second motion for appropriate relief within thirty (30) days of the order granting

the stay. Once the second motion for appropriate relief is filed, the parties should

file periodic status reports with this Court regarding the state court proceedings.

      WHEREFORE, Jeffrey Clayton Kandies requests this Court issue an order

holding this federal habeas corpus proceeding in abeyance pending exhaustion of

state remedies regarding the new evidence relevant to his Batson claim and

requiring the parties to report jointly the status of the state-court proceedings
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within sixty (60) days from the date of this Order and every sixty (60) days

thereafter.

      This the 1st day of March, 2013.



                                     /s/ M. Gordon Widenhouse, Jr.
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                        CERTIFICATE OF SERVICE

      I hereby certify that on March 1, 2013, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of
such filing to the following: Danielle Marquis Elder, Special Deputy Attorney
General, at dmarquis@ncdoj.gov, and Mary Carla Hollis, Assistant Attorney
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      Respectfully Submitted,


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